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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 THE MENDHAM METHODIST                       Hon. Evelyn Padin, U.S.D.J.
 CHURCH; and THE ZION LUTHERAN               Hon. Jessica S. Allen, U.S.M.J.
 CHURCH LONG
 VALLEY,                                     Docket No. 2:23-cv-2347-EP-JSA

   Plaintiffs,                                       CIVIL ACTION

   v.                                        ORDER PERMITTING THE
                                              NEW JERSEY ATTORNEY
 MORRIS COUNTY, NEW JERSEY;                  GENERAL TO INTERVENE
 MORRIS COUNTY BOARD OF COUNTY                 IN THIS MATTER AS A
 COMMISSIONERS; MORRIS COUNTY                DEFENDANT-INTERVENOR
 HISTORIC PRESERVATION TRUST
 FUND REVIEW BOARD; and JOHN
 KRICKUS, in his official capacity as
 Commissioner Director for the Morris
 County Board of County Commissioners,

   Defendants.



        NOW COMES Matthew J. Platkin, Attorney General of New Jersey, by
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Michael L. Zuckerman, Deputy Solicitor General, appearing on behalf of Proposed

Defendant-Intervenor, Attorney General of New Jersey, for an Order permitting

the New Jersey Attorney General to Intervene in this matter as a Defendant-

Intervenor, pursuant to Fed. Rule Civ. P. 24, and the Court having considered the

matter and for good cause shown;



IT IS on this                                  day of              , 2023


      ORDERED that the Proposed Defendant-Intervenor, Attorney General of

New Jersey’s Motion to Intervene in this matter as a Defendant-Intervenor, pursuant

to Fed. Rule Civ. P. 24, is hereby GRANTED; and it is further

      ORDERED that the Attorney General of New Jersey be added to this matter

as a Defendant-Intervener; and it is further

      ORDERED that a copy of this Order shall be served upon the parties within

ten days of receipt hereof.




                                                  HON. EVELYN PADIN, U.S.D.J.
